            Case 1:17-cv-02447-RC Document 16 Filed 11/22/17 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

THE AMERICAN HOSPITAL                           :
ASSOCIATION, et al.,                            :
                                                :
       Plaintiffs,                              :         Civil Action No.:      17-2447 (RC)
                                                :
       v.                                       :
                                                :
ERIC D. HARGAN,                                 :
Secretary of Health and Human Services, et al., :
                                                :
       Defendants.                              :

                                              ORDER

       Upon consideration of the parties’ proposed schedules, it is hereby ORDERED that the

following schedule shall govern proceedings in this case:

       1.    Defendants shall file their motion to dismiss and opposition to Plaintiffs’ preliminary

            injunction motion on or before December 1, 2017;

       2. Plaintiffs shall file their opposition to Defendants’ motion to dismiss and reply in

            support of their preliminary injunction motion on or before December 8, 2017;

       3. Defendants shall file their reply in support of their motion to dismiss on or before

            December 15, 2017.

       FURTHER ORDERED that the parties shall appear for a hearing on Plaintiffs’

preliminary injunction motion and Defendants’ motion to dismiss on December 21, 2017 at

10:00 AM in Courtroom 14.

       SO ORDERED.


Dated: November 22, 2017                                            RUDOLPH CONTRERAS
                                                                    United States District Judge
